                     Case 1:13-cr-00042-JTN
     AO 472 Order of Detention Pending Trial
                                                                  ECF No. 40, PageID.57                         Filed 02/19/13                Page 1 of 2



                           WESTERN DISTRICT OF MICHIGAN
     UNITED STATES OF AMERICA             ORDER OF DETENTION
             V.                           PENDING TRIAL
     WILLIE EARL BROWN                                                                         Case Number:         1:13-CR-42

            In accordance with the Bail Reform Act, 18 U.S.C.§3142(f), a detention hearing has been held. I conclude that the following facts
     require the detention of the defendant pending trial in this case.
                                                                   Part I - Findings of Fact
              (1)      The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal
                       offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had
                       existed) that is
                             a crime of violence as defined in 18 U.S.C.§3156(a)(4).
                             an offense for which the maximum sentence is life imprisonment or death.
                             an offense for which the maximum term of imprisonment of ten years or more is prescribed in

                              a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                              U.S.C.§3142(f)(1)(A)-(C), or comparable state or local offenses.
             (2)      The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                      offense.
             (3)      A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
                      the offense described in finding (1).
             (4)      Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                      assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this
                      presumption.
                                                                     Alternate Findings (A)
     ✘       (1)      There is probable cause to believe that the defendant has committed an offense
                       ✘     for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 801 et seq
                             under 18 U.S.C.§924(c).
     ✘       (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                      reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                     Alternate Findings (B)
     ✘       (1)      There is a serious risk that the defendant will not appear.
     ✘       (2)      There is a serious risk that the defendant will endanger the safety of another person or the community.
                      Defendant is a 56-year-old man who has lived in Niles for the past two decades. He has a variety of medical problems and
                      is on disability. He is renting a basement in the home of his ex-wife, but could live with his girlfriend.

                      Defendant by his own admission has a substantial drug abuse problem. He consumes a fifth of liquor, a dozen beers, and
                      heroin on a daily basis. He uses cocaine one to two times per week, marijuana twice per month, and crack cocaine every
                      two months or so. (continued on attachment)
                                           Part II - Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by clear and convincing evidence that
   no condition or combination of conditions will assure the safety of the community, based upon the unrebutted presumption.
   In the alternative, even without the presumption, the government has met its burden in this regard since the defendant has
   repeatedly committed criminal acts while under supervision (i.e., parole). This is presumably to support a significant drug
   and alcohol abuse problem, or he is unable to control his behavior because of his substantial (continued on attachment)
                                                      Part III - Directions Regarding Detention
       The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
  facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
  defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States
  or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the United
  States marshal for the purpose of an appearance in connection with a court proceeding.


    Dated:         February 19, 2013                                                            /s/ Hugh W. Brenneman, Jr.
                                                                                                                        Signature of Judicial Officer
                                                                                              Hugh W. Brenneman, United States Magistrate Judge
                                                                                                                     Name and Title of Judicial Officer

          *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq. ); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq. ); or
    (c) Sectlon 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).
         Case 1:13-cr-00042-JTN ECF No. 40, PageID.58                        Filed 02/19/13       Page 2 of 2
United States v. WILLIE EARL BROWN
1:13-CR-42
ORDER OF DETENTION PENDING TRIAL
Page 2.




Alternate Findings (B) - (continued)


Defendant's criminal history goes back to a burglary conviction when he was 18 years old. His known record, although
he has used nearly a half-dozen aliases, shows a string of offenses involving the use of alcohol while driving (which
suggests he has lost his license since he uses a State of Michigan personal identification card), a burglary and a B&E
with intent, and more recently a variety of drug offenses including two for maintaining a drug house. The most telling of
defendant's behavior over the past decade has been his repeated convictions while he was on parole from the
Michigan Department of Corrections. It appears that this has occurred on five different occasions resulting in eight new
convictions. It also appears from evidence available to the Pretrial Services office, but which did not make it into the
Pretrial Services report, that in 2005 defendant was actually returned to prison, but this is still under investigation.
Regardless, whether he was returned to prison in 2005 and then placed back on parole, or never went back to prison,
he was convicted of three drug offenses in 2007 which resulted in a prison term of 2 1/2 to 15 years.




Part II - Written Statement of Reasons for Detention - (continued)

drug and alcohol problem. Either way, the government has shown by clear and convincing evidence that the
community would not be safe from the continuation of such activity if the defendant was placed back in the community.
